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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

EVAN PETROS,                            )
                Plaintiff,          )
                                    )                   No. 1:16-cv-63
-v-                                 )
                                    )                   HONORABLE PAUL L. MALONEY
FMW RRI I LLC,                      )
            Defendant.              )
____________________________________)

                                            JUDGMENT

        The parties reached an agreement to settle this matter. They submitted a stipulation for approval

and entry of a consent decree and for dismissal of the case with prejudice. The Court has approved the

stipulation. As required by Rule 58, JUDGMENT ENTERS.

        THIS MATTER IS TERMINATED.

        IT IS SO ORDERED.

Date:   March 31, 2016                                          /s/ Paul L. Maloney
                                                                Paul L. Maloney
                                                                United States District Judge
